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                        IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA

_________________________________________
                                          )
WILDEARTH GUARDIANS,                      )
                                          )
                                          )
            Plaintiff,                    )                     Case # 1:18-cv-890 (APM)
                                          )
                                          )
U.S. BUREAU OF LAND MANAGEMENT,           )
                                          )
                                          )
            Defendant.                    )
__________________________________________)

                                    JOINT STATUS REPORT

        Plaintiff, WildEarth Guardians, and Defendant, the United States Bureau of Land

 Management (“BLM”), submit this Joint Status Report to apprise the Court of their progress in

 resolving this case under the Freedom of Information Act (“FOIA”), 5 U.S.C. § 552.

       1.       Plaintiff’s request sought “[a]ny and all records related to or concerning the

proposed Normally Pressured Lance Natural Gas Development Project in Sublette County,

Wyoming.”

       2.       BLM does not intend to move for an Open America stay, but is instead

processing plaintiff’s request.

       3.       BLM’s search is ongoing. To date, it has identified 62,658 potentially

responsive pages, and it anticipates that there will be at least 80,000 potentially responsive

pages when the search is complete.

       4.       BLM proposes to make monthly interim releases until it has completed its

processing. This effort already is underway: on Friday, June 8, BLM released to plaintiff

4,705 pages in their entirety, that is, with no withholdings.
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       5.       The parties propose to file joint status reports every 90 days describing their

progress in resolving this matter and proposing a briefing schedule as to any issue regarding

which they reach an impasse.

Respectfully submitted,


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